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     ZOHREH MOKHTARI
 7                             U.S. DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 8
     ZOHREH MOKHTARI, an individual              Case No.: 2:16-cv-00186-PSG-PJW
 9
                        Plaintiff,               PLAINTIFF’S NOTICE OF
10                                               VOLUNTARY DISMISSAL OF
           v.                                    ENTIRE ACTION, WITH
11                                               PREJUDICE, PURSUANT TO
     ORACLE FINANCIAL GROUP, LLC;                RULE 41
12   UNITED PORTFOLIO SERVICING
     LLC, and DOES 1-10;
13
                        Defendant.
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15
           PLEASE TAKE NOTICE that Plaintiff ZOHREH MOKHTARI (“Plaintiff”)
16
     seeks unilateral dismissal of this entire matter, with prejudice, pursuant to Rule 41(a) of
17
     the Federal Rules of Civil Procedure, as no Defendant has filed an Answer nor a Motion
18
     for Summary Judgment.
19
     ///
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     ///
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     ///
22                                                1
                                 Plaintiff’s Voluntary Dismissal
23
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 1        Therefore, Plaintiff requests that be dismissed in its entirety, with prejudice.

 2                                         SEMNAR & HARTMAN, LLP

 3   DATED: 04/29/2016                     /s/ Jared Hartman, Esq.
                                           Jared Hartman, Esq.
 4                                         Attorneys for Plaintiff,
                                            ZOHREH MOKHTARI
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                                Plaintiff’s Voluntary Dismissal
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 1                                         PROOF OF SERVICE

 2   Zohreh Mokhtari v. Oracle Financial Group,                   Case    No.:   2:16-cv-00186-PSG-
     LLC et al.                                                   PJW
 3

 4          I am employed in the County of San Diego, State of California. I am over the age of 18 and
     am not a party to the within action; my business address is 400 South Melrose Drive, Suite 209,
 5   Vista, California 92081. On the date provided below, I served the foregoing document described
 6   below on the interested parties in this action by placing same in a sealed envelope.
     PLAINTIFF’S VOLUNTARY DISMISSAL OF ENTIRE ACTION, WITH PREJUDICE was
 7   served on:

 8    Christopher D Holt
      Klinedinst PC
 9    5 Hutton Center Drive Suite 1000
10    Santa Ana, CA 92707-5756
      Attorneys for Defendants
11
            (BY MAIL) – I caused such envelope(s) with postage thereon fully prepaid to be placed in
12          the United States mail in Vista, California.

13          I am “readily familiar” with the firm’s practice of collection and processing correspondence
            for mailing. Under that practice, it would be deposited with the U.S. Postal Service on the
14          same day with postage thereon fully prepaid at Vista, California, in the ordinary course of
            business. I am fully aware that on motion of the party served, service is presumed invalid if
15          the postal cancellation date or postage meter date is more than one day after the date of
            deposit for mailing an affidavit.
16          (BY FACSIMILE) – I caused the above described document(s) to be transmitted to the
            offices of the interested parties at the facsimile number(s) indicated above and the activity
17          report(s) generated by facsimile number (888) 819-8230 indicating on all pages that they were
            transmitted.
18
            (BY PERSONAL SERVICE) – I caused such envelope(s) to be delivered by hand to the
19          office(s) of the addressee(s).
20          (STATE) – I declare under penalty of perjury under the laws of the State of California that
            the above is true and correct.
21
            (FEDERAL) – I declare that I am employed in the office of a member of the bar of this court
22          at whose direction the service was made. Via Electronic Service: The above-described
            documents will be delivered electronically through the court’s ECF/PACER electronic filing
23          system, as stipulated by all parties to constitute personal service.

24
     Dated: 4-29-16                                     /s/ Jared M. Hartman
25                                                      Jared M. Hartman, Esq.
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                                           PROOF OF SERVICE
